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                     IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        ADACIA DOUGLAS,                                           GENERAL JURISDICTION DIVISION

                               Plaintiff(s),                      CASE NO. 20-2888 CA 01 (04)

        v.

        MIAMI-DADE COUNTY POLICE
        DEPARTMENT, JACKSON MEMORIAL
        HOSPITAL, JACKSON MEMORIAL
        HOSPITAL SECURITY CORP., ERIK
        NOVO, GETRO EXANTUS, JOAQUIN
        FUNDORA,

                               Defendant(s).

         DEFENDANTS JACKSON MEMORIAL HOSPITAL, ERIK NOVO AND JOAQUIN
             FUNDORA’S MOTION FOR EXTENSION OF TIME TO RESPOND TO
                            PLAINTIFF'S COMPLAINT

             Defendants    Jackson    Memorial     Hospital,    Erik   Novo     and      Joaquin   Fundora

        (“Defendants”), by and through undersigned counsel, and pursuant to Florida Rule of Civil

        Procedure 1.090, move for an extension of time to respond to Plaintiff's Complaint, and state

        as follows:

             1. Plaintiff filed his Complaint on or about February 27, 2020.

             2. Of the six named defendants, at least two have not been served with process as of

        this date.

             3. Currently, and as a result of the current Coronavirus pandemic, Defendants’ response

        is due June 1, 2020.

             4. Despite diligent efforts, Defendants have been unable to file a response to the

        Complaint and hereby seek a 2-week extension, until June 15, 2020 to file their responses.



                                OFFIC E OF COUNTY ATTORNEY, MIAMI-DADE COUNTY, FLORIDA
                                                 TELEPHONE 305.375.5151
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          ADACIA DOUGLAS v. MIAMI-DADE COUNTY POLICE DEPARTMENT, JACKSON MEMORIAL HOSPITAL,
         JACKSON MEMORIAL HOSPITAL SECURITY CORP., ERIK NOVO, GETRO EXANTUS, JOAQUIN FUNDORA
                                                                      Case No. 20-2888 CA 01 (04)

       5. Defendants have not previously asked for an extension.

       6. This motion is not meant to harass or prejudice the Plaintiff in any way, nor is it

   interposed for the purpose of undue hindrance or delay.

       WHEREFORE, Defendants respectfully request that this Court GRANT their motion,

   and allow Defendants an additional 14 days, until June 15, 2020, to respond to the

   Complaint, and grant such other relief as this Court deems just.


                                    CERTIFICATE OF SERVICE

          I certify that the foregoing document has been e-mailed to all parties of record on

   Wednesday, May 27, 2020 to the e-mail address(es) each has registered with the Florida

   Courts E-Filing Portal.


                                                    Respectfully submitted,
                                                    ABIGAIL PRICE-WILLIAMS
                                                    Miami-Dade County Attorney
                                                    Attorney for Defendant Miami-Dade County
                                                    Stephen P. Clark Center, Suite 2810
                                                    111 Northwest First Street
                                                    Miami, Florida 33128-1993

                                                    By: /s/ Daniel Frastai
                                                       Daniel Frastai
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